        Case 1:24-cv-00941-JKB           Document 2      Filed 04/01/24     Page 1 of 2



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

 In the Matter of the Petition

                 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                             Docket No. _______
                and
                                                             IN ADMIRALTY

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,


 for Exoneration from or Limitation of
 Liability.

 MOTION TO ACCEPT INTERIM STIPULATION FOR VALUE AND STIPULATION
 FOR COSTS AND FOR THE ENTRY OF RESTRAINING ORDER AND ORDER FOR
                        ISSUANCE OF NOTICE

       Petitioners GRACE OCEAN PRIVATE LIMITED (“Owner”), owner of the M/V DALI

(the “Vessel”), and SYNERGY MARINE PTE LTD, manager of the Vessel, by their undersigned

attorneys, move the Court to enter an Order accepting the Interim Stipulation for Value and

Stipulation for Costs proffered by Petitioners, and to enter a Restraining Order and Order that

Notice of the commencement of this proceeding be issued, all as prayed for in the Petition herein.



                                                    _____/s/_________________________
                                                    DUANE MORRIS LLP
                                                    Robert B. Hopkins (Bar No. 06017)
                                                    rbhopkins@duanemorris.com
                                                    Laurie G. Furshman (Bar No. 29604)
                                                    Lgfurshman@duanemorris.com
                                                    100 International Drive, Suite 700
                                                    Baltimore, MD 21202
Case 1:24-cv-00941-JKB   Document 2   Filed 04/01/24        Page 2 of 2



                                  (410) 949-2900

                                  BLANK ROME LLP
                                  William R. Bennett III*
                                  William.Bennett@blankrome.com
                                  Thomas H. Belknap, Jr.*
                                  Thomas.Belknap@blankrome.com

                                  Kierstan L. Carlson*
                                  Kierstan.Carlson@blankrome.com
                                  1825 Eye St. NW
                                  Washington, DC 20006
                                  202-420-2200

                                  Counsel for Petitioners

                                  SEWARD & KISSEL LLP
                                  Bruce G. Paulsen (not admitted in Maryland)
                                  Paulsen@sewkis.com
                                  One Battery Park Plaza
                                  New York, NY 10004

                                  Of Counsel for Synergy Marine Pte Ltd


                                  *Applications for admission pro hac vice
                                  forthcoming
